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                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA
                                    JOHNSTOWN DIVISION



Arthur Diamond, on behalf of himself and
others similarly situated; Jeffrey Schawartz
and Sandra H. Ziegler, on behalf of
themselves and others similarly situated,
                                               Case No. 3:18-cv-00128-KRG
                      Plaintiffs,
                                               Judge Kim R. Gibson
v.

Pennsylvania State Education Association,
et al.,

                      Defendants.

                                               Filed Electronically.




      BRIEF IN SUPPORT OF UNION DEFENDANTS’ MOTION TO DISMISS
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                                        INTRODUCTION

       This lawsuit was brought by three plaintiffs in mid-June, 2018, in advance of the decision

rendered by the United States Supreme Court some two weeks later in Janus v. AFSCME

Council 31, 138 S. Ct. 2448 (June 27, 2018) . In Janus, the Court overruled its 40-year-old

precedent in Abood v. Detroit Board of Education, 431 U.S. 209 (1977), in which the Court had

held that public employees who declined to become dues-paying members of the union that

represents their bargaining unit could, consistent with the First Amendment, be required as a

condition of employment to contribute their proportionate share of the union’s costs of collective

bargaining and contract administration. Overturning that holding, Janus established the rule that

such “fair share” fee requirements were unconstitutional in the public sector.

       Plaintiffs’ complaint seeks two principal forms of relief. First, the complaint asserts

multiple variations of the demand that fair share requirements be declared unconstitutional and

enjoined – an issue the Supreme Court has already settled in Janus. Second, plaintiffs ask that

the unions that for years were allowed to assess and collect fair share fees under a Pennsylvania

statute and in reliance on Abood be required to repay all such fees they have ever collected –

apparently without regard to any statute of limitations, and in any event without regard for the

unions’ justified reliance on state law and Supreme Court precedent.

       Defendants Pennsylvania State Education Association (“PSEA”), National Education

Association (“NEA”), and Chestnut Ridge Education Association (“CREA”) (collectively, the

“Union Defendants”) respectfully ask the Court, pursuant to Rules 12(b)(1) & (6) of the Federal

Rules of Civil Procedure, to dismiss plaintiffs’ lawsuit in its entirety. As we explain below, the

complaint’s demands for declaratory and injunctive relief are either moot or otherwise

nonjusticiable, and the demand for repayment of fair share fees assessed at a time when such fees




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were authorized and deemed constitutional under controlling law fails to state a claim for relief

in light of the good-faith defense to liability for damages available to private parties sued under

42 U.S.C. § 1983. And, to the extent plaintiffs seek to avoid that result by asserting a claim for

conversion under state tort law, they both fail to state a claim for conversion and run afoul of the

state-law equivalent of the § 1983 good-faith defense.

                                         BACKGROUND

       Since 1988, Pennsylvania law has provided that a labor union certified as the exclusive

representative of a bargaining unit of public employees may enter into an agreement with the

public employer whereby any members of the bargaining unit who choose not to become dues-

paying union members can be required, as a condition of employment, to pay a “fair share fee”

(sometimes called an “agency fee”), equivalent to the portion of union dues that goes for the

union’s costs of negotiating and enforcing the collective bargaining agreement. See 71 Pa. Stat.

§ 575. In authorizing such fair share requirements, Pennsylvania law followed that of many other

states as well as (with respect to the private sector) the National Labor Relations Act, see 29

U.S.C. § 158(a)(3), in recognizing that – where the union had a legal duty “to ‘represen[t] the

interests of all public employees in the unit,’ whether or not they are union members,” Janus,

138 S. Ct. at 2467 – it was fair to require those who declined to join the union to help pay the

costs of collective bargaining and contract administration that benefited both members and

nonmembers. In 1977, the Supreme Court had upheld the constitutionality of such requirements,

explaining that as long as the fee was limited to the costs of collective bargaining and contract

administration, to the exclusion of political or ideological activities, requiring non-union

employees to pay their share of those costs did not violate their First Amendment rights to

freedom of speech and association. Abood v. Detroit Bd. of Educ., 431 U.S. 209 (1977).




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        The Pennsylvania statute that allowed for fair share fees contained provisions specifying

that if a fair share requirement is negotiated in the collective bargaining agreement, “[t]he public

employer shall deduct the fee … [from the nonmembers’ salary or wages] and promptly transmit

the amount deducted to the exclusive representative.” 71 Pa. Stat. § 575(c). The statute also

contained procedures under which a nonmember may challenge the amount of the fee, id., § 575

(d)-(i), and it allowed nonmembers who objected to supporting a union on religious grounds

instead to direct their fair share fee to “a nonreligious charity agreed upon by the nonmember and

the exclusive representative.” Id., § 575 (e), (h), (i).

        This lawsuit was brought against PSEA, its national affiliate NEA, and one of its local

affiliates, CREA (as well as certain public officials). Complaint ¶¶ 7-9. The three plaintiffs, all

current or retired teachers, allege that they were required to pay fair share fees as nonmembers of

the union. Id., ¶¶ 14-21. Plaintiffs Schwartz and Ziegler were religious objectors who were

permitted to direct their fair share equivalent to a charity instead of to the union. Id., ¶¶ 19-21.

        On June 27, 2018, the Supreme Court issued its ruling in Janus v. AFSCME Council 31,

138 S. Ct. 2448 (2018). By a 5-4 vote, the Court overruled Abood and held that public employees

could not constitutionally be required to pay fair share fees.

        In light of the Janus decision, the Union Defendants recognized that the Pennsylvania

statute authorizing fair share fees had become unenforceable, and they immediately took steps to

stop collection of such fees. On the day of the decision, PSEA contacted every school employer

with which a PSEA affiliate had a contractual fair share clause, notifying them of the Janus

decision and instructing them immediately to cease deducting fair share fees from their




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employees’ paychecks. See Declaration of Joseph Howlett, ¶ 5. 1 Where school employers had

already deducted and transmitted the portions of their employees’ fees attributable to the period

after June 27 (i.e., the last two months of the school year), or were unable to modify a post-June

27 payroll, PSEA established procedures to refund such fees to the nonmember feepayers

(including religious objectors), with interest. Id. On July 2, 2018, PSEA sent letters to every fair

share feepayer explaining the Janus decision, informing them that PSEA had contacted

employers and asked them to immediately stop payroll deduction of fair share fees, and notifying

the feepayers that any fees that had been paid for the period after June 27, 2018 would be

promptly refunded. Id. at ¶ 5 & Exh. A. Such letters went to plaintiffs Diamond and Schwartz,

and both have received or will shortly receive checks refunding to them the portion of their fair

share fees that had been deducted and transmitted by their school district employers prior to June

27, but that was attributable to the period from June 27 to August 31, 2018. Id., ¶¶ 6-7. Plaintiff

Ziegler, on the other hand, has been retired and thus has been required to pay no fair share fees at

all since 2013. See Declaration of Nadine Glass ¶¶ 6-7; infra Part IV.

       The school employers have similarly recognized that statutory and contractual provisions

authorizing fair share requirements are no longer enforceable after Janus, and representatives of

the three school districts that employ or employed the plaintiffs have provided affidavits attesting

that as a result of the Janus decision they have ceased deducting and transmitting fair share fees,

and that in compliance with Janus they will not do so in the future. Kudlawiec Decl. ¶¶ 5-6;

Ulmer Decl. ¶¶ 5-6; Puckett Decl. ¶¶ 5-6.


       1
          The declarations and exhibits submitted with this brief and cited herein are proffered
solely in support of the argument in Parts I and IV that certain claims of the complaint should be
dismissed for lack of jurisdiction under Rule 12(b)(1). The Court is permitted to consider
evidence outside the pleadings in ruling on 12(b)(1) motions. Gould Electronics Inc. v. United
States, 220 F.3d 169, 176-77 (3d Cir. 2000).


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                                           ARGUMENT

       As we first explain, the bulk of plaintiffs’ claims, which seek declaratory and injunctive

relief with respect to the collection of fair share fees, are moot as a result of the Janus decision

and the resulting cessation or imminent refund of all such fee assessments (Part I.A). And, to the

extent plaintiffs seek to enjoin provisions governing union membership, they lack standing to do

so (Part I.B). All such claims must thus be dismissed under Rule 12(b)(1) for lack of subject

matter jurisdiction. That leaves the demand that the Union Defendants repay fair share fees that

were assessed and collected – and expended for the benefit of the entire bargaining unit,

including nonmembers such as the plaintiffs – prior to the Janus decision. That claim must be

dismissed under Rule 12(b)(6) for failure to state a claim, because it is barred by the good-faith

defense to liability for damages that is available to private parties sued under 42 U.S.C. § 1983

who acted in reliance on existing, presumptively valid statutes and judicial precedent (Part II).

Furthermore, plaintiffs’ alternative attempt to invoke state tort law is also due to be dismissed

under Rule 12(b)(6) – both because plaintiffs fail to state a claim for conversion, and because the

state-law equivalent of the § 1983 good-faith defense similarly bars any such tort claim for

damages (Part III). Finally, we note that one of the three plaintiffs, having been retired and thus

not subject to any fair share requirement for over five years (well beyond the two-year

limitations period) lacks standing to raise any of the claims in this lawsuit; and, because neither

of the other two plaintiffs has standing to assert claims against defendant CREA either, that

defendant must be dismissed from the action as well (Part IV).

       I.      PLAINTIFFS’ CLAIMS FOR DECLARATORY AND INJUNCTIVE
               RELIEF ARE MOOT OR OTHERWISE NONJUSTICIABLE

       Article III of the Constitution contains important safeguards designed to preserve the

separation of powers by “prevent[ing] the judicial process from being used to usurp the powers



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of the political branches.” Clapper v. Amnesty Int’l USA, 568 U.S. 398, 408 (2013). Thus, the

Constitution “limits the jurisdiction of federal courts to ‘Cases’ and ‘Controversies.’” Susan B.

Anthony List v. Driehaus, 134 S. Ct. 2334, 2341 (2014). A case is nonjusticiable and thus outside

the jurisdiction of the federal courts if, inter alia, the plaintiff’s claims are moot, Iron Arrow

Honor Soc’y v. Heckler, 464 U.S. 67, 70 (1983), or if the plaintiff lacks standing to bring them,

Clapper, 568 U.S. at 407-08. If, for one of these reasons, “a dispute is not a proper case or

controversy, the courts have no business deciding it, or expounding the law in the course of

doing so.” DaimlerChrysler Corp. v. Cuno, 547 U.S. 332, 341 (2006).

        Because the justiciability of plaintiffs’ claims “must [be] demonstrate[d] … separately for

each form of relief sought,” Friends of the Earth, Inc. v. Laidlaw Envtl. Servs., Inc., 528 U.S.

167, 185 (2000), we analyze plaintiffs’ complaint by looking to each of the claims for relief

sought in the Demand for Relief. This analysis shows that all of the complaint’s substantive

claims – with the exception of paragraph n’s demand for repayment of pre-Janus fair share fees –

are moot or otherwise nonjusticiable, and thus must be dismissed under Rule 12(b)(1).

        A.      All Claims for Declaratory or Injunctive Relief with Respect to the
                Constitutionality or Legality of Fair Share Fees (Including Religious
                Objector Fees) are Moot as a Result of the Supreme Court’s Decision in
                Janus [Demand for Relief ¶¶ c, d, e, f, g, h, i, j, k, l, m, o, p]

        The vast majority of the complaint’s claims are for declaratory and injunctive relief,

asking the Court to declare unconstitutional and enjoin the enforcement of (a) any requirement

that nonmembers pay such fees, Demand for Relief ¶¶ c, o, p; (b) various provisions of 71 Pa.

Stat. § 575 that establish such a fee requirement, including its provisions allowing nonmembers

to make and adjudicate objections to the fee, and permitting religious objectors to pay their fee to

a charity instead of to the union, Demand for Relief ¶¶ e, f, g, h, i, j, k, l; and (c) any provisions




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of collective bargaining agreements that incorporate and implement such fair share requirements,

id., ¶ m. The complaint also seeks similar relief as a matter of state tort law, id., ¶ d.

        Less than two weeks after the complaint was filed, the United States Supreme Court

announced its decision in the Janus case, which resolved the question plaintiffs seek to

adjudicate here. In Janus, the Court overruled its Abood precedent and held that the First

Amendment prohibited any requirement that public employees pay fair share fees: “Neither an

agency fee nor any other payment to the union may be deducted from a nonmember’s wages, nor

may any other attempt be made to collect such a payment, unless the employee affirmatively

consents to pay.” 138 S. Ct. at 2486.

        As explained in greater detail above, as a result of the Janus decision, PSEA immediately

took steps to cease the collection of fair share fees from all Pennsylvania school employers that

had fair-share provisions in their collective bargaining agreements with PSEA local associations.

Any such fees that had been pre-collected and were attributable to the period after June 27, 2018

were or will soon be promptly refunded, with interest, to the nonmembers (including religious

objectors) who had paid them. Both the Union Defendants and the school districts that were

party to collective bargaining agreements containing fair share provisions have stated their

intention to comply fully with the Janus decision and accordingly not to give further effect to

such contract provisions – which they recognize are unenforceable after Janus – and letters to

this effect were mailed, to all nonmember feepayers (including religious objectors) in

Pennsylvania, including plaintiffs Diamond and Schwartz.

        In light of the Court’s resolution in Janus of the question on which plaintiffs seek

declaratory and injunctive relief, as well as the immediate and unconditional implementation of

that decision by not only the Union Defendants but also by the school district employers, there is




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no longer any dispute between the parties over the issue plaintiffs seek to adjudicate. The Union

Defendants – along with the relevant public employers – agree that fair share requirements in the

public sector are now prohibited by the First Amendment. Because there is no longer any “actual

controversy” between the parties, this issue is moot and the Court lacks Article III jurisdiction

over plaintiffs’ claims. Arizonans for Official English v. Arizona, 520 U.S. 43, 67 (1997). 2

Indeed, one court considering a post-Janus challenge has already so held. See Danielson v.

Inslee, No. 3:18-cv-05206-RJB, 2018 WL 3917937 (W.D. Wash. Aug. 16, 2018) (holding

plaintiffs’ claims for declaratory and injunctive relief with respect to agency fee requirements

were moot after Janus and the cessation of fee collections).

       We emphasize that this is not a case in which the “voluntary cessation” exception to the

mootness doctrine, see United States v. W.T. Grant Co., 345 U.S. 629, 632 (1953), has any

application, for multiple reasons. First, when a defendant changes its position in response to a

change in the law, the cessation of the challenged conduct is not considered “voluntary” for

purposes of mootness analysis. See Smith v. Univ. of Wash., 233 F.3d 1188, 1194-95 (9th Cir.

2000) (“[W]hen a change of position is wrought by a statutory provision, the change is neither

voluntary nor likely to be resiled from at any time in the foreseeable future.”). That is true

whether the change of position is in response to a newly enacted statute, id., or – as in this case –

the result of a judicial decision, see Aikens v. California, 406 U.S. 813 (1972) (per curiam);



       2
          It bears noting in this connection that plaintiffs’ claim for declaratory relief “does not
broaden the jurisdiction granted to the federal courts by the Constitution,” and accordingly “there
still must be a case or controversy before a federal court can assume jurisdiction and reach the
merits of a [declaratory judgment action].” Coalition for Gov’t Procurement v. Federal Prison
Indus., Inc., 365 F.3d 435, 458-59 (6th Cir. 2004) (alteration in original) (internal quotation
marks omitted); see also Gator.com Corp. v. L.L. Bean, Inc., 398 F.3d 1125, 1129 (9th Cir.
2005) (en banc) (“The limitations that Article III imposes upon federal court jurisdiction are not
relaxed in the declaratory judgment context.”).


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Christian Coalition v. Cole, 355 F.3d 1288 (11th Cir. 2004). Christian Coalition is virtually on

all fours with this case. It involved a challenge to an opinion of the Alabama Judicial Inquiry

Commission stating that a judge standing for election was prohibited from declaring her position

on legal and political issues. Subsequently, when the Supreme Court held such prohibitions

contrary to the First Amendment, Republican Party of Minnesota v. White, 536 U.S. 765 (2002),

the Commission withdrew its challenged opinion. That changed position in response to an

intervening Supreme Court decision, the Eleventh Circuit explained, mooted the case. Because

“White changed the legal landscape on which the [Commission] initially based its Advisory

Opinion,” the plaintiff challenging the opinion “can reasonably expect that the [Commission]

will not issue another opinion preventing judges from answering the questionnaire at issue in this

case.” 355 F.3d at 1292-93. So too here: where Janus “changed the legal landscape,” and

defendants responded to that change by immediately ceasing the collection of fair share fees, it

cannot reasonably be expected that collection of such fees would be resumed.

       Second, the Union Defendants can collect fair share fees only with the active assistance

of the school employers in deducting such fees from nonmembers’ paychecks and transmitting

them to the Union Defendants. And governmental agencies are presumed to follow the law, see,

e.g., Troiano v. Supervisor of Elections, 382 F.3d 1276, 1283 (11th Cir. 2004) (applying

presumption in mootness context) – which now prohibits such deduction and transmission of fair

share fees. And, quite apart from that legal presumption, it is evident that the school employers

will follow the law. Thus, the school districts that employed the three plaintiffs have ceased

deducting and transmitting fair share fees and have attested to their intent to comply fully with

Janus. These assurances by public officials are more than sufficient to establish that the

collection of fair share fees would not be resumed – even if the Union Defendants somehow




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wanted to defy a decision of the Supreme Court. See Grutzmacher v. Howard Cty., 851 F.3d 332,

349 (4th Cir. 2017) (holding that previous policies were unlikely to be readopted based on

“formal assurances” of public officials and “absence of any evidence to the contrary”).

       Finally, given that all parties agree that Janus prohibits fair share fees in the public

sector, that the Union Defendants immediately following Janus took all necessary steps to ensure

that deduction and transmission of fair share fees were halted at once and to escrow and refund

those that could not be halted, and that the Union Defendants have represented to this Court that

they recognize the unconstitutionality of fair share requirements under Janus, “[i]t is

unreasonable to think that the Union would resort to conduct” – even assuming that it had the

power to do so unilaterally – “that it had admitted in writing was constitutionally deficient and

had attempted to correct.” Carlson v. United Academics, 265 F.3d 778, 786 (9th Cir. 2001).

       For all of these reasons, this is a case where it is “absolutely clear that the allegedly

wrongful behavior could not reasonably be expected to recur.” Friends of the Earth, Inc. v.

Laidlaw Envtl. Servs., Inc., 528 U.S. 167, 189 (2000) (quoting United States v. Concentrated

Phosphate Export Ass’n, 393 U.S. 199, 203 (1968)). That being so, there is nothing for this Court

to enjoin, and plaintiffs’ requests for declaratory and injunctive relief are moot.

       As a final point, we note that some of plaintiffs’ demands for relief seek to declare

unconstitutional and enjoin the enforcement of statutes and provisions of collective bargaining

agreements that, in light of the short time since the Janus decision, have not been repealed. But it

is settled law that “[t]he mere presence on the statute books of an unconstitutional statute, in the

absence of enforcement or credible threat of enforcement, does not entitle anyone to sue.”

Winsness v. Yocom, 433 F.3d 727, 732-37 (10th Cir. 2006) (case was moot where prosecutors

acknowledged that a Supreme Court decision made the state statute unconstitutional); see also,




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e.g., Wisconsin Right to Life v. Schober, 366 F.3d 485, 492 (7th Cir. 2004) (“[A] case is moot

when a state agency acknowledges that it will not enforce a statute because it is plainly

unconstitutional, in spite of the failure of the legislature to remove the statute from the books.”);

Brown v. Buhman, 822 F.3d 1151, 1168 (10th Cir. 2016) (same). Plaintiffs’ challenges to the

statutes and collective bargaining agreements authorizing fair share fees are thus moot as well. 3

       B.      Plaintiffs Have No Standing to Seek to Enjoin Provisions Concerning Union
               Membership [Demand for Relief ¶ q]

       The complaint also seeks to enjoin defendants from enforcing any provision of law, of a

collective bargaining agreement, or of a union membership agreement “that prevents or deters

public employees from cancelling their union membership and withdrawing financial support of

the union at any time during the calendar year.” Demand for Relief ¶ q. While this claim may not

be moot, it is nonetheless nonjusticiable, for none of the plaintiffs have standing to bring it. As

the complaint itself avers, none of the three plaintiffs are union members, see Complaint ¶¶ 14-

16, and thus none of them stands to be affected in the slightest by any legal or contractual

restrictions on union members’ ability to resign their membership and terminate their dues

payments “at any time during the calendar year.”

       It is a fundamental requirement of standing that the plaintiff have suffered, or be

imminently threatened with, an “injury in fact.” Lujan v. Defenders of Wildlife, 504 U.S. 555,

560 (1992). This “injury in fact” requirement cannot be satisfied by showing that someone else

might have suffered or be imminently threatened with an injury: “[T]he ‘injury in fact’ test

requires more than an injury to a cognizable interest. It requires that the party seeking review be


       3
          It is, of course, immaterial to the mootness analysis that this lawsuit has been brought as
a class action, because “when claims of the named plaintiffs become moot before class
certification, dismissal of the action is required.” Brown v. Philadelphia Housing Auth., 350 F.3d
338, 343 (3d Cir. 2003) (quoting Lusardi v. Xerox Corp., 975 F.2d 964, 974 (3d Cir. 1992)).


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himself among the injured.” Id. at 563 (emphasis added) (quoting Sierra Club v. Morton, 405

U.S. 727, 734-35 (1972)). Plaintiffs, as nonmembers of the union, have neither suffered any

injury nor are imminently threatened with any injury arising from legal or contractual restrictions

on the right of union members to resign at any time they wish. There is, in short, no “case or

controversy” here for the Court to decide.

       II.     PLAINTIFFS’ DEMAND FOR REPAYMENT OF FAIR SHARE FEES
               COLLECTED PRIOR TO JANUS IS BARRED BY THE § 1983 GOOD-
               FAITH DEFENSE TO LIABILITY FOR DAMAGES

       Beyond their demands for declaratory and injunctive relief, plaintiffs also ask that the

Court order the Union Defendants “to repay all ‘fair-share fees’ that they unconstitutionally

extracted from the representative plaintiffs and their fellow class members.” Demand for Relief

¶ n. Any such fees paid after (or attributable to the period after) June 27, 2018, when the

Supreme Court held them to be unconstitutional, have been or soon will be returned to the

feepayers, with interest, see Howlett Decl. ¶ 5, so the demand is moot to the extent it is for

repayment of post-Janus fees. The complaint, however, also appears to seek repayment of fair-

share fees assessed and collected before the Janus decision – at a time when the Supreme Court’s

1977 Abood decision upholding fair-share requirements in the public sector was still the law of

the land. See Complaint ¶ 32 (identifying as a question common to all putative class members

whether they “can recover compensatory damages from the PSEA and its affiliates for ‘fair-share

fees’ that were collected before Janus”). 4



       4
         Plaintiffs appear to treat as an open question “whether … any statute of limitations
might limit the recovery of class members,” Complaint ¶ 32, and indeed they define their
putative class to include “everyone who has ever” been required to pay fair-share fees to the
Union Defendants. Id., ¶ 29 (emphasis added). It is, however, well settled that the limitations
period applicable in Pennsylvania to claims brought under § 1983 is two years. See Trautman v.
Lagalski, 28 F. Supp. 2d 327, 328-29 (W.D. Pa. 1998).


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       In seeking repayment of fees collected at a time when they indisputably had been held to

be fully lawful, plaintiffs apparently plan to invoke the retroactivity analysis in Harper v.

Virginia Dep’t of Taxation, 509 U.S. 86 (1993), and to argue that every Supreme Court decision

interpreting the constitution applies retroactively to conduct predating the decision in all

circumstances, even when the decision totally overrules the Court’s previously articulated

understanding of the constitution. According to this argument, actions that were fully

constitutional under governing law at the time they were undertaken are said, in retrospect, to

have been unconstitutional after all.

       The Court has, however, made clear that the retroactivity principles enunciated in Harper

do not “determine the outcome of the case” when, among other considerations, there is “a

previously existing, independent legal basis (having nothing to do with retroactivity) for denying

relief.” Reynoldsville Casket Co. v. Hyde, 514 U.S. 749, 758-59 (1995). Here, the basis for

denying the remedy plaintiffs seek is the well established good-faith defense to liability for

damages that is available to private parties sued under 42 U.S.C. § 1983.

       A.      The Courts – Including the Third Circuit – Have Uniformly Recognized the
               Availability to Private Parties Sued under § 1983 of a Good-Faith Defense to
               Liability for Damages

       The widespread adoption of the good-faith defense to § 1983 damages actions grew out

of two leading Supreme Court decisions addressing the scope of liability for nongovernmental

actors under that statute. See Lugar v. Edmondson Oil Co., 457 U.S. 922, 942 n.23 (1982); Wyatt

v. Cole, 504 U.S. 158, 168 (1992) In particular, when the Supreme Court initially determined in

Lugar that private actors could, under certain circumstances, be held liable along with their

governmental counterparts for violations of § 1983, and, subsequently, when it held in Wyatt that

such private defendants could not invoke the doctrine of qualified immunity available to their

governmental co-defendants in § 1983 damages actions, the Court recognized that “principles of


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equality and fairness may suggest … that private citizens … should have some protection from

liability, as do their government counterparts,” when the private actions held to be

unconstitutional had been undertaken pursuant to presumptively valid existing law. Wyatt, 504

U.S. at 168. Thus, although not called upon to decide the question in the cases before it, the

Court suggested in both Lugar and Wyatt – in dicta and in separate opinions joined by five

members of the Court – the availability of a good-faith defense for nongovernmental defendants

sued for damages under § 1983. Id. at 168-69; id. at 169 (Kennedy, J., joined by Scalia, J.,

concurring); id. at 175 (Rehnquist, C.J., joined by Souter and Thomas, JJ., dissenting); see also

Lugar, 457 U.S. at 942 n.23. The Court subsequently reiterated this view in Richardson v.

McKnight, 521 U.S. 399, 413-14 (1997) (citing Wyatt, 504 U.S. at 169).

       The Court’s view, accepted without dissent by all members of the Wyatt Court, has

subsequently been adopted by every lower court that has ever considered the issue. Thus, on

remand from the Supreme Court in the Wyatt case, the Fifth Circuit squarely addressed and

decided the question of the good-faith defense. Finding that this question “was largely answered

by the[] separate opinions” of Justice Kennedy and Chief Justice Rehnquist, the Fifth Circuit

held “that private defendants sued on the basis of Lugar may be held liable for damages under

§ 1983 only if they failed to act in good faith in invoking the unconstitutional state procedures,

that is, if they either knew or should have known that the statute upon which they relied was

unconstitutional.” Wyatt v. Cole, 994 F.2d 1113, 1118 (5th Cir. 1993).

       In the quarter-century since that decision, four other courts of appeals – including the

Third Circuit – have considered the issue, and all have reached the same result. Jordan v. Fox,

Rothschild, O’Brien & Frankel, 20 F.3d 1250, 1275-78 (3d Cir. 1994); Vector Research, Inc. v.

Howard & Howard Attorneys P.C., 76 F.3d 692, 698-99 (6th Cir. 1996); Pinsky v. Duncan, 79




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F.3d 306, 311-12 (2d Cir. 1996); Clement v. City of Glendale, 518 F.3d 1090, 1096-97 (9th Cir.

2008); Jarvis v. Cuomo, 660 F. App’x 72, 75-76 (2d Cir. 2016), cert denied, 137 S. Ct. 1204

(2017). Not only are the courts of appeals unanimous in holding that nongovernmental

defendants sued under § 1983 can raise a good-faith defense, but the same is true of the dozens

of district court cases addressing this issue since Wyatt.

       And that is for good reason. Even though nonbinding, the Supreme Court’s discussion of

the issue in its dicta and separate opinions in Wyatt, Lugar, and Richardson makes clear the

compelling rationale for the good-faith defense, which has been succinctly summarized by one

court as follows:

       It would be manifestly unfair to hold that the state actor – whose participation is
       required for there to be a section 1983 violation at all – is entitled to qualified
       immunity, but hold the private actor, who did not subjectively believe that he was
       acting unconstitutionally, liable for the plaintiff’s damages.

Franklin v. Fox, No. C 97-2443, 2001 WL 114438, at *5 (N.D. Cal. Jan. 22, 2001) (Breyer, J.).

Thus, “the Justices who speak of this good faith defense, as well as the circuits that have applied

it, were, and are, concerned with the unfairness of imposing damages liability on private

defendants whose honest and reasonable belief in the constitutionality of their conduct turns out

later to have been mistaken.” Sheldon Nahmod, The Emerging Section 1983 Private Party

Defense, 26 Cardozo L. Rev. 81, 91 (2004). 5




       5
          In the same vein, courts that have considered claims for equitable restitution from
private parties in similar circumstances have taken account of “the general principle that … state
officials and those with whom they deal are entitled to rely on a presumptively valid state statute,
enacted in good faith and by no means plainly unlawful.” Americans United v. Prison Fellowship
Ministries, Inc., 509 F.3d 406, 427 (8th Cir. 2007) (quoting Lemon v. Kurtzman, 411 U.S. 192,
208-09 (1973)). In Americans United, while the court of appeals affirmed the district court’s
holding striking down under the Establishment Clause a government program funding faith-
based prison rehabilitation programs, it reversed the lower court’s order that funds previously
received and expended by the religious organization be repaid. That repayment order, the Eighth


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       It is, in sum, now well settled that nongovernmental actors sued under § 1983 – while not

immune from suit entirely as are government officials under the doctrine of qualified immunity –

are entitled to invoke a good-faith defense that shields them from claims for damages. 6

       B.      Reliance on Presumptively Valid State Law and Controlling Supreme Court
               Precedent in Receiving Fair Share Fees Prior to Janus was Objectively
               Reasonable and thus in Good Faith

       The good-faith defense precludes plaintiffs’ demand for repayment of fair-share fees paid

prior to June 27, 2018, when the Supreme Court announced its decision in Janus. There is no

dispute that those fees were assessed and received under state law specifically authorizing their

assessment. See 71 Pa. Stat. § 575. That statute is, as a matter of law, entitled to a presumption of

validity. As the Second Circuit has put it, “it is objectively reasonable to act on the basis of a

statute not yet held invalid.” Pinsky v. Duncan, 79 F.3d 306, 313 (2d Cir. 1996). The court cited

in this connection the venerable holding of Birdsall v. Smith, 122 N.W. 626, 627 (Mich. 1909),

that under the common law “[e]very statute should be considered valid until there is a judicial


Circuit held, was erroneous because the district court “gave no weight to the fact that specific
statutes, presumptively valid, authorized the … funding.” Id.
       6
          In some recent cases, litigated subsequent to the Supreme Court’s 2014 decision in
Harris v. Quinn, 134 S. Ct. 2618 (2014), prohibiting fair share requirements for state-
compensated home-care workers, it has been argued that the good-faith defense cannot be
invoked in First Amendment cases because it is limited to cases where the defendant’s state of
mind is an element of or defense to the constitutional tort. That contention has been rejected
every time it has been raised. See Jarvis v. Cuomo, 660 F. App’x 72, 75-76 (2d Cir. 2016), cert.
denied, 137 S. Ct. 1204 (2017); Winner v. Rauner, No. 15 CV 7213, 2016 WL 7374258, at **5-6
(N.D. Ill. Dec. 20, 2016); Hoffman v. Inslee, No. 14-CV-200 (MJP), 2016 WL 6126016 (W.D.
Wash. Oct. 20, 2016), appeal pending sub nom. Routh v. SEIU Healthcare 775NW, No. 16-
35749 (9th Cir.). The contention is incompatible with a central reason for the good-faith defense
– to avoid the injustice of holding private parties liable in damages under circumstances where
their public-official co-defendants, without whom there could be no § 1983 violation in the first
place, would escape liability through qualified immunity. As the court explained in Winner, the
proposed “limiting principles of scienter or motive are not consistent with the Supreme Court’s
approach because they would still leave private parties exposed to a damages verdict for relying
on seemingly valid state laws that were later held to be unconstitutional.” 2016 WL 7374258, at
*6.


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determination to the contrary.” Pinsky, 79 F.3d at 313. Similarly, Justice Kennedy relied on

Birdsall in his Wyatt opinion, citing it for the proposition that “a private individual’s reliance on

a statute, prior to a judicial determination of unconstitutionality, is considered reasonable as a

matter of law.” 504 U.S. at 174 (Kennedy, J., concurring). This presumption of statutory validity

“ought to allow a defendant to argue that he acted in subjective good faith ….” Id.

       In this case, moreover, there is far more than a presumption of statutory validity. There is,

of course, the Abood decision, a controlling Supreme Court precedent dating back over 40 years

that explicitly held fair-share statutes to be constitutional under the First Amendment – a

precedent that was followed and re-affirmed many times. See, e.g., Ellis v. Bhd. of Ry. Clerks,

466 U.S. 435 (1984); Chicago Teachers Union v. Hudson, 475 U.S. 292 (1986); Lehnert v.

Ferris Faculty Ass’n, 500 U.S. 507 (1991); Locke v. Karass, 555 U.S. 207 (2009).

       As a matter of law, therefore, the Union Defendants’ reliance on Pennsylvania’s statutory

authorization of fair-share fees, and on controlling Supreme Court precedent upholding such

authorization, must be held reasonable and as constituting good-faith reliance. The Third Circuit

has held that a private party seeking to invoke the § 1983 good-faith defense need only show

“subjective” good faith, “rather than the more demanding objective standard of reasonable belief

that governs qualified immunity,” Jordan v. Fox, Rothschild, O’Brien & Frankel, 20 F.3d 1250,

1277 (3d Cir. 1994), but in this case it is abundantly clear that the “more demanding objective

standard of reasonable belief” is met. 7


       7
          That being so, any inquiry into the Union Defendants’ subjective good faith would be
irrelevant, so that the availability of the good-faith defense can be determined as a matter of law
on a Rule 12(b)(6) motion to dismiss. Indeed, where “a private individual’s reliance on a statute,
prior to a judicial determination of unconstitutionality, is considered reasonable as a matter of
law,” Wyatt, 504 U.S. at 174 (Kennedy, J., concurring) (emphasis added), it would make little
sense to inquire into what the private individual may have subjectively believed about the
constitutionality of the statute upon which it relied.


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       Because the “objective standard of reasonable belief” is satisfied, it is simply irrelevant

whether, as may be argued, it became foreseeable in the wake of nonbinding dicta commenting

negatively on Abood in Knox v. SEIU, 567 U.S. 298 (2012), that Abood might be overruled.

Abood was not overruled in Knox. Nor was it overruled in Harris v. Quinn, 134 S. Ct. 2618

(2014); indeed, there the Court consciously declined to overrule Abood, even though that was the

principal question briefed by the parties. Thus, while it may be true that, since Knox, “public-

sector unions have been on notice … regarding [the Supreme] Court’s misgivings about Abood,”

Janus, 138 S. Ct. at 2484, the dispositive fact is that prior to Janus – and at all times relevant to

the good-faith defense issue here – it was Abood that was the law of the land, and not any

nonbinding commentary on Abood. That is clear from Janus itself, for the Court there took care

to state that the district court in that case had “correctly” dismissed the complaint because it was

“foreclosed by Abood.” 138 S. Ct. at 2462.

       The reason why the district court in Janus acted “correctly” in following Abood is

directly pertinent to why the defendants acted in good faith reliance on Abood here: “The

Supreme Court itself has admonished lower courts to follow its directly applicable precedent,

even if that precedent appears weakened by pronouncements in its subsequent decisions, and to

leave to the Court itself ‘the prerogative of overruling its own decisions.’” United States v.

Singletary, 268 F.3d 196, 205 (3d Cir. 2001) (quoting Rodriguez de Quijas v.

Shearson/American Express, Inc., 490 U.S. 477, 484 (1989)). See also Agostini v. Felton, 521

U.S. 203, 237 (1997) (lower courts “should follow the case which directly controls, leaving to




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this Court the prerogative of overruling its own decisions.”). Private parties should not be held to

a higher standard of prescience than the federal courts. 8

       Indeed, it would be insidious to accept the notion that a private party who relies on a state

statute valid under binding Supreme Court precedents of long standing should face the prospect

of catastrophic liability merely because nonbinding commentary in a more recent case suggested

that the Court might reconsider those precedents. Accepting that notion would threaten to

undermine the rule of law itself by eroding the solemnity that does, and should, accompany the

overruling of established precedents. The erosion would occur because private parties’ fear of

massive liability, unleavened by the availability of a good-faith defense, would impel all but the

most risk-insensitive private parties to behave as if an actual overruling had occurred and thus to

abandon statutory rights that the legislature intended for them to exercise – even though an actual

overruling had not occurred and might never occur. Cf. United States v. Dickerson, 530 U.S. 428,

438 (2000) (reaffirming Miranda v. Arizona, 384 U.S. 436 (1964) despite expressions of

misgiving). The effect would be a de facto overruling of a Supreme Court precedent through

nonbinding commentary rather than through the Supreme Court’s careful consideration of

whether its precedent should, in fact, be overturned.

       In short, the Unions’ reliance on a presumptively valid statute authorizing fair-share fees,

as well as on controlling Supreme Court precedent upholding such statutes, was objectively

reasonable as a matter of law, and the good-faith defense defeats the § 1983 damages claims.




       8
           By way of analogy, it may be noted in this regard that the standard for applying the
doctrine of qualified immunity is a question of law – whether the unconstitutionality of the
defendant public official’s actions was “clearly established” at the time of the act in question –
see, e.g., Dougherty v. School Dist. of Phila., 772 F.3d 979, 993 (3d Cir. 2014), that does not turn
on the defendant’s ability to forecast what the courts might hold in the future.


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       III.    PLAINTIFFS FAIL TO STATE A CLAIM FOR CONVERSION, WHICH –
               TO THE EXTENT IT SEEKS DAMAGES – WOULD ALSO BE BARRED
               BY THE GOOD-FAITH DEFENSE

       Perhaps recognizing the barrier that the mootness doctrine and the good-faith defense

pose to their federal constitutional claims, plaintiffs have added the contention, under state law,

that “PSEA has committed the tort of conversion by appropriating the money of the

representative plaintiffs and their fellow class members without their consent.” Complaint ¶ 28.

Read literally, the complaint seeks only declaratory relief on this tort claim, see Demand for

Relief ¶ d (first clause) – which is moot along with the other claims for declaratory and

injunctive relief. The complaint’s demand for repayment of pre-Janus fees, on the other hand,

appears to seek that remedy only on the basis that the fees were “unconstitutionally extracted,”

id., ¶ n (emphasis added), saying nothing about state tort law. In an abundance of caution,

however, we explain why, in any event, the conversion theory fails to state a claim upon which

any relief can be granted, and then show that, even if there were a viable conversion claim, any

attempt to recover pre-Janus fees on that basis would be barred by the state-law equivalent of the

§ 1983 good-faith defense.

       A.      The Complaint Fails to State a Claim for Conversion

       As this Court has recently explained, “[u]nder Pennsylvania law, conversion occurs

where one deprives another of his right to property in, or use or possession of, a chattel, or

otherwise interferes therewith, without consent or justification.” Laborers’ Combined Funds v.

Jennings, 323 F.R.D. 511, 519 (W.D. Pa. 2018) (quoting Richman ex rel. Inst. of Terrorism

Research & Response, Inc. v. Perelman, No. 953 EDA 2014, 2015 WL 3500537, at *7 (Pa.

Super. Ct. Apr. 21, 2015)). While there are multiple problems with plaintiffs’ attempt to invoke




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the law of conversion, 9 one in particular stands out: “[A] claim of conversion cannot be sustained

in the face of lawful justification on the part of the asserted tortfeasor.” Pioneer Commercial

Funding Corp. v. American Fin. Mortg. Corp., 855 A.2d 818, 827 (Pa. 2004). Here, the fees

plaintiffs’ public employers deducted from their paychecks and transmitted to the Union

Defendants were not deducted and transmitted without “lawful justification.”

       To the contrary, the withholding and transmission of fair-share fees was undertaken

pursuant to Pennsylvania law that specifically authorized – indeed, required – such action: “If the

provisions of a collective bargaining agreement so provide, each nonmember of a collective

bargaining unit shall be required to pay to the exclusive representative a fair share fee.” 71 Pa.

Stat. § 575 (b). The statute further directed that “[t]he public employer shall deduct the fee …

and promptly transmit the amount deducted to the exclusive representative.” Id., § 575(c). In

light of this state law specifically providing for the deduction and transmission of fair share fees,

plaintiffs’ argument that following the directions of the law constituted a form of theft –

conversion – would seem to be a bad joke. It certainly cannot be said that the fair share funds

were deducted and transmitted “without … justification.” Jennings, 323 F.R.D. at 519.

       We recognize, of course, that on June 27, 2018, the United States Supreme Court

declared fair share requirements in the public sector to be unconstitutional. Plaintiffs’ contention

is, apparently, that this decision retroactively rendered without “lawful justification” the

transmissions of fair share fees that had taken place in the years prior to that decision. But even



       9
          For example, to state a claim for conversion the plaintiff must have “had actual or
constructive possession of a chattel at the time of the alleged conversion.” Jennings, 323 F.R.D.
at 519. Presumably, on plaintiffs’ theory, the alleged conversion took place when the school
district employers transmitted to the Union Defendants fair-share payments that they otherwise
would have paid to the plaintiffs as part of their paychecks. But plaintiffs clearly had neither
actual nor constructive possession of those funds before they were transmitted to the unions.


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were one to proceed on the assumption that that the U.S. Supreme Court would apply its

decisions retroactively in determining the status under the federal constitution of actions that

took place prior to the Court’s overruling of a long-standing precedent, see supra p. 13, that

would not change the fact that – as a matter of Pennsylvania tort law – there existed, in the form

of a presumptively valid statute, “justification” for the deduction and transmission of fair share

fees at the time (prior to the Janus decision) when those fees were deducted and transmitted.

Whether the withholding and transmission of the fees was undertaken “without justification,”

within the meaning of the state law of conversion, is a factual question that is not controlled by

the Supreme Court’s legal rules about the retroactive application of new constitutional rulings.

       Thus, the fact that the authority that justified the defendant’s actions was determined after

the fact to be unconstitutional does not mean that there existed no “justification” for those

actions at the time they were taken. As one federal court has put it, defendants in a lawsuit

alleging conversion “cannot be held liable for complying with an order that was valid upon its

face, even if that order is later found to be unconstitutional.” Weldon v. Conlee, No. 1:13-CV-

00540-LJO-SAB, 2015 WL 1811882, at *17 (E.D. Cal. Apr. 21, 2015) (towing company’s action

in following instruction of police officer was not without justification); see also Tarantino v.

Syputo, No. C 03-03450 MHP, 2006 WL 1530030, at *12 (N.D. Cal. June 2, 2006) (similar).

       In short, far from an action taken to appropriate plaintiffs’ funds “without justification,”

the Union Defendants’ receipt from the school employers of fair share payments for nonmember

feepayers was action undertaken pursuant to state law specifically authorizing precisely that

action. Whether, as a matter of federal law, the assessment of fair share fees is considered

retroactively unconstitutional, what is relevant for the state law of conversion is that plaintiffs




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cannot establish that such assessments were undertaken “without justification,” and they thus

cannot establish an essential element of the cause of action for conversion.

       B.      Any Claim for Repayment of Fair Share Fees is Barred by the Good-Faith
               Defense to Liability under State Law

       Even if, moreover, the Union Defendants’ receipt of fair share fees at a time when it was

authorized by presumptively valid state law should be deemed to amount to conversion, any

attempt to hold the Union Defendants liable under that theory for damages (in the form of

repayment of pre-Janus fees) would still fail. Just as the good-faith defense discussed above

shields from such liability under § 1983 private parties who relied in good faith on presumptively

valid state law, state courts have long recognized that – as a matter of state law – parties should

be able to rely on the presumed validity of statutes and cannot be held liable in damages for

actions taken in reliance on such laws, even if subsequently held unconstitutional. 10

       Thus, the Delaware Supreme Court has summarized the holdings of multiple state courts

as follows:

       Citizens and public officials have a right to accept the law as it is written until it is
       repealed or judicially condemned. They are not required to speculate upon the
       validity of a statute or to act under it at their peril. Until legislatively or judicially
       excised, a statute is an operative fact. Courts presume every legislative act
       constitutional and indulge every intendment in favor of validity. No penalty may
       be visited upon citizens for doing likewise.

Downs v. Jacobs, 272 A.2d 706, 707 (Del. 1970) (citing Lang v. City of Bayonne, 68 A. 90 (N.J.

1907); Kimble v. Bender, 196 A. 409 (Md. 1938); Austin v. Campbell, 370 P.2d 769 (Ariz.




       10
          Indeed, the § 1983 good-faith defense was itself built largely on state law. As Justice
Kennedy explained in Wyatt, “there is support in the common law for the proposition that a
private individual’s reliance on a statute, prior to a judicial determination of unconstitutionality,
is considered reasonable as a matter of law.” 504 U.S. at 174 (Kennedy, J., concurring) (citing
Birdsall v. Smith, 122 N.W. 626, 627 (Mich. 1909)); see also Pinsky v. Duncan, 79 F.3d 306,
313 (2d Cir. 1996) (also citing Birdsall in approving the § 1983 good-faith defense).


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1962); Marckel v. Zitzow, 15 N.W.2d 777 (Minn. 1944); Michigan City v. Brossman, 11 N.E.2d

538 (Ind. App. 1937)). See also State v. Village of Garden City, 265 P.2d 328, 335 (Idaho 1953)

(“An unconstitutional law should not be applied to work a hardship or impose a liability on one

who has acted in good faith and relied on the validity of a statute before the courts have declared

it invalid.”); Butzlaff v. Van Der Geest & Sons, Inc., 340 N.W.2d 742, 744 (Wis. Ct. App. 1983)

(same). More recent authority is to the same effect:

       [C]itizens have the right to accept statutory law as written until it is repealed or
       invalidated; citizens are not required to speculate on the constitutionality of a
       statute before acting under it. We, therefore, hold that citizens will not face
       personal liability for acting reasonably and in good faith reliance on the
       provisions of a statute that is later declared unconstitutional.

Dutch Point Credit Union, Inc. v. Caron Auto Works, Inc., 648 A.2d 882, 888 (Conn. App. Ct.

1994); see also White v. Arkansas Capital Corp./Diamond State Ventures, 226 S.W.3d 825, 832

(Ark. 2006) (denying restitution remedy where defendants relied in good faith on statute

presumed valid); Adukia v. Finney, 735 N.E.2d 174, 177 (Ill. App. Ct. 2000) (“[A] party should

not be penalized for his good-faith reliance on existing law.”).

       In sum, even though statutes authorizing fair share fees in the public sector are no longer

constitutional after Janus, that change in the law does not permit plaintiffs to seek a damages

remedy for pre-Janus fees under the state law of conversion, any more than it does under § 1983.

       IV.     BECAUSE PLAINTIFF ZIEGLER LACKS STANDING TO BRING ANY
               CLAIM, BOTH SHE AND DEFENDANT CREA MUST BE DISMISSED
               FROM THE LAWSUIT

       While the complaint avers that plaintiff Sandra Ziegler is a “retired” teacher, Complaint

¶ 16, it does not disclose when she retired. In fact, Ms. Ziegler left her employment with the

Chestnut Ridge School District on June 5, 2013 – more than five years before this lawsuit was

brought. See Glass Decl. ¶ 6 & Exh. A. Since the end of the 2012-13 school year she has not

been subject to any requirement that she pay fair share fees (or, as a religious objector, make


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equivalent contributions to a charity). Id., ¶ 7. That being the case, Ms. Ziegler has no standing to

seek either the prospective or retrospective relief demanded by the complaint. As she is not

currently subject to any fair share requirement, she is not threatened with any injury from the

prospective enforcement of fair share provisions the complaint seeks to enjoin. Nor does she

have standing to seek repayment of any fees previously paid, as any payments she made go back

well beyond the two-year limitations periods applicable both to claims under § 1983 and for

conversion. 42 Pa. C.S.A. § 5524(1), (3); see Trautman v. Lagalski, 28 F. Supp. 2d 327, 328-29

(W.D. Pa. 1998); (§ 1983); Kingston Coal Co. v. Felton Min. Co., 690 A.2d 284, 288 (Pa. Super.

Ct. 1997) (conversion). Lacking “a personal stake in the outcome of the controversy,” she has no

standing to sue. Warth v. Seldin, 422 U.S. 490, 498 (1975). 11

       Because plaintiff Ziegler must be dismissed for lack of standing, defendant Chestnut

Ridge Education Association must be dismissed as well, as neither of the other two other

plaintiffs alleges any claim against it. While the complaint purports to sue CREA as

representative of a defendant class of all PSEA local affiliates, Complaint ¶ 8, it cannot be

required to remain a defendant in the lawsuit – much less serve as a defendant class

representative – if the complaint states no viable claim against it.

                                          CONCLUSION

       Plaintiffs’ complaint should be dismissed in its entirety.




       11
          Should the contention that plaintiff Ziegler’s claims for retrospective relief are barred
by the statute of limitations be deemed to be properly brought by a motion under Rule 12(b)(6)
rather than Rule 12(b)(1), the Court could – if it reaches this issue – take account of the Glass
Declaration establishing Ms. Ziegler’s retirement date by treating the instant motion, in this
limited respect, as a motion for summary judgment and allowing plaintiffs an opportunity to
contest that issue of fact. See Fed. R. Civ. P. 12(d).


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                                                Respectfully submitted,

                                                /s/ John M. West

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